Case 2:20-cv-11181-CAS-JPR Document 46-1 Filed 08/02/21 Page 1 of 6 Page ID #:824




    1 RIMON, P.C.
      Mark Lee (SBN 94103)
    2 mark.lee@rimonlaw.com
      2029 Century Park East, Suite 400N
    3 Los Angeles, California 90067
      Telephone/Facsimile: 213.375.3811
    4
      RIMON, P.C.
    5 Zheng Liu (SBN: 229311)
      zheng.liu@rimonlaw.com
    6 800 Oak Grove Avenue, Suite 250
      Menlo Park, California 94025
    7 Telephone/Facsimile: 650.461.4433
    8 Attorneys for Defendants
      INTERFOCUS INC. d.b.a. www.patpat.com
    9
   10                      UNITED STATES DISTRICT COURT
   11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   12
   13 NEMAN BROTHERS & ASSOC.,                    Case No. 2:20-cv-11181-CAS-JPRC
      INC., a California Corporation,
   14                                             DECLARATIONS OF MARK S.
                   Plaintiff,                     LEE AND WEIWEI LE IN
   15                                             OPPOSITION TO PLAINTIFF’S
            v.                                    MOTION FOR SUMMARY
   16                                             JUDGMENT OR ADJUDICATION
      INTERFOCUS, INC. d.b.a.
   17 www.patpat.com, a Delaware
      Corporation; CAN WANG, and
   18 individual, and DOES 1-10, inclusive.,       Date: August 23, 2021
                   Defendants.                     Time: 10:00 am
   19                                              Courtroom: Courtroom 8D
   20                                             The Hon. Christina A. Snyder
      INTERFOCUS, INC. d.b.a.
   21 www.patpat.com, a Delaware
      Corporation; CAN WANG, an
   22 individual, and DOES 1-10, inclusive,
   23              Counterclaim Plaintiffs,
   24        v.
   25 NEMAN BROTHERS & ASSOC.,
      INC., a California Corporation,
   26
                   Counterclaim Defendant.
   27
   28

         DECLARATIONS OF MARK S. LEE AND WEIWEI LE IN OPPOSITION TO PLAINTIFF’S MOTION FOR
                             SUMMARY JUDGMENT OR ADJUDICATION
Case 2:20-cv-11181-CAS-JPR Document 46-1 Filed 08/02/21 Page 2 of 6 Page ID #:825




    1                         DECLARATION OF MARK S. LEE
    2         I, Mark S. Lee, declare:
    3         1.    I am a lawyer admitted to practice before this Court, and am a partner
    4 at Rimon, P.C., counsel of record for Interfocus, Inc. d.b.a. www.patpat.com
    5 (“Interfocus”) in this matter. I have personal knowledge of the following facts
    6 except where otherwise indicated based on my personal participation in the matters
    7 described, and if called upon as a witness, I could and would competently testify
    8 thereto.
    9         2.    InterFocus served its responses to Plaintiff’s first set of Interrogatories
   10 on or about May 3, 2021. A true and correct copy of those responses is attached as
   11 Exhibit 1.
   12         3.    As stated in those responses, InterFocus believes that the designs at
   13 issue in this case are very similar to independently created pre-existing designs that
   14 are widely available in the Chinese market, where the products at issue were
   15 produced by independent vendors. I have personally searched the Internet, and
   16 discovered a few examples of similar patterns when doing so. Attached as Exhibit 2
   17 is a true and correct copy of some of those similar patterns. I also directed that a
   18 chart be prepared comparing three of the fabric patterns Plaintiff claims InterFocus
   19 infringed with similar patterns attached as Exhibit 2, and that chart reveals the
   20 following:
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                       DISPUTED               THIRD PARTY DESIGNS
   23                  GARMENTS
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          DECLARATIONS OF MARK S. LEE AND WEIWEI LE IN OPPOSITION TO PLAINTIFF’S MOTION FOR
                              SUMMARY JUDGMENT OR ADJUDICATION
Case 2:20-cv-11181-CAS-JPR Document 46-1 Filed 08/02/21 Page 3 of 6 Page ID #:826




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   11         4.    Further Investigation and discovery could reveal evidence relevant to
   12 ownership, originality and protectability of the fabric patterns at issue in the case.
   13 For example, it could reveal that the fabric patterns used to create the garments
   14 InterFocus sold were created independently of the patterns in which Neman
   15 Brothers claims copyright by someone else, or that the fabric patterns used by
   16 InterFocus’ Chinese third party vendors were acquired from the same fabric
   17 manufacturer from whom Neman Brothers acquired its alleged U.S. copyrights, or
   18 that the designs at issue originated with another manufacturer from whom Neman
   19 Brothers’ assignor copied it, or other facts that could provide defenses to the present
   20 copyright infringement claims.
   21       5.     This case is in the relatively early stages of discovery, with both parties
   22 having responded to written discovery propounded by the other side but no
   23 depositions having yet been taken.
   24         6.    The fact that much relevant evidence appears to be in China
   25 complicates and delays our investigation and discovery efforts. I have some
   26 experience in international discovery, and some familiarity with theoretical and
   27 practical aspects of obtaining such discovery from Chinese entities that are not
   28 parties to U.S. litigation and not subject to the jurisdiction of a U.S. Court. Like the
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          DECLARATIONS OF MARK S. LEE AND WEIWEI LE IN OPPOSITION TO PLAINTIFF’S MOTION FOR
                              SUMMARY JUDGMENT OR ADJUDICATION
Case 2:20-cv-11181-CAS-JPR Document 46-1 Filed 08/02/21 Page 4 of 6 Page ID #:827




    1 U.S., China has become a signatory to the 1970 “Hague Convention on the Taking
    2 of Evidence Abroad in Civil or Commercial Matters (“Hague Convention”) since
    3 about 1998, see https://www.hcch.net/en/instruments/conventions/specialised-
    4 sections/evidence and https://www.hcch.net/en/instruments/conventions/status-
    5 table/?cid=82; see also https://www.state.gov/judicial-assistance/; Thus, in theory,
    6 limited written discovery and documents from third parties can be obtained by
    7 “Letters Rogatory” or “Letter of Request” issued by this Court to obtain written
    8 answers to written questions or documents from third parties in China. China does
    9 not permit attorneys to take depositions in China for use in foreign courts because it
   10 is illegal under of Article 277 of China’s Civil Procedure Law.
   11 See https://travel.state.gov/content/travel/en/legal-
   12 considerations/judicial/country/china.html).
   13         7.    In practice, actually gaining the permission of a Chinese Central
   14 Authority to get such written testimony or documents from third parties is difficult
   15 and unpredictable. Any Letters Rogatory and Letters of Request must be presented
   16 to and approved by the Chinese Central Authority that controls such matters. See
   17 https://www.hcch.net/en/states/authorities/details3/?aid=243. U.S.-style discovery is
   18 foreign to the Chinese legal system, and Chinese authorities often are reluctant to
   19 permit it. Such efforts are expensive and time-consuming, and whether the Chinese
   20 Central Authority will permit it is uncertain. In my opinion, the likelihood of
   21 actually obtaining it can be low. Thus, in China, informal investigation is often a
   22 better way to obtain information. InterFocus is engaged in such efforts now.
   23         I declare under penalty of perjury under the laws of the United States that the
   24 foregoing is true and correct. Executed this 2nd day of August, 2021, at Los
   25 Angeles, California.
   26
                                                      /s/ Mark S. Lee
   27                                                 Mark S. Lee
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          DECLARATIONS OF MARK S. LEE AND WEIWEI LE IN OPPOSITION TO PLAINTIFF’S MOTION FOR
                              SUMMARY JUDGMENT OR ADJUDICATION
Case 2:20-cv-11181-CAS-JPR Document 46-1 Filed 08/02/21 Page 5 of 6 Page ID #:828




    1                            DECLARATION WEIWEI LE
    2        I, Weiwei Le, declare:
    3        1.     I am the Director of Operations for InterFocus Inc. (“Interfocus”). I
    4 have worked for InterFocus Inc. since 2017. I have personal knowledge of the
    5 following facts except where otherwise indicated, and if called upon as a witness, I
    6 could and would competently testify thereto. I provide this declaration to
    7 supplement an earlier declaration I submitted in this action on July 13, 2021, and I
    8 incorporate the contents of that declaration into this one verbatim.
    9        2.     As I mentioned in my previous declaration, in my capacity as Director
   10 of Operations for InterFocus over the past five years, I have become familiar with
   11 the business of InterFocus. InterFocus sells goods to consumers exclusively through
   12 its website at https://us.patpat.com/. InterFocus is a U.S. company that sells to U.S.
   13 consumers, but it does not manufacture the goods it sells, all of which come from
   14 other companies, including suppliers located in China. Among the products it sells
   15 are garments it purchases from third party vendors in China, who manufacture them
   16 with fabrics purchased on the open market from fabric manufacturers in China.
   17 InterFocus does not know who those fabric manufacturers are, but it has no desire to
   18 infringe anyone’s copyrights in connection with such sales, so, among other things,
   19 it requires its vendors from whom it purchases such garments to agree in writing that
   20 its products do not infringe anyone else’s copyrights. InterFocus does not
   21 knowingly sell merchandise that infringes others’ rights.
   22        3.     There are many fabric manufacturers in China, and many third-party
   23 vendors who manufacture garments using fabrics obtained from those garment
   24 manufacturers. Many fabric manufacturers offer similar floral, paisley, and other
   25 patterns to garment manufacturers. I [or InterFocus] have asked the vendors from
   26 whom we purchased garments that Neman Brothers claims infringe its rights to
   27 identify the fabric manufacturers from who they acquired the fabric used on the
   28 allegedly infringing goods, and also asked them to provide us with examples of
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          DECLARATIONS OF MARK S. LEE AND WEIWEI LE IN OPPOSITION TO PLAINTIFF’S MOTION FOR
                              SUMMARY JUDGMENT OR ADJUDICATION
Case 2:20-cv-11181-CAS-JPR Document 46-1 Filed 08/02/21 Page 6 of 6 Page ID #:829




     1 similar fabric designs they received from someone other than Neman Brothers.
    2 They have told InterF ocus they will provide such information and those materials,
    3 but have not yet done so. We continue to encourage them to provide us with that
    4 information and exemplar designs, but we have no way to compel them to do so.
    5        4.     In reviewing my earlier declaration to prepare this one, I discovered
    6 one typographical error I would like to correct. A chart at paragraph 14 shows that a
    7 garment identified by ID No. 399267 was taken down from Interfocus' online
    8 platform on 9/14/2020. That is in error. In fact, as stated in paragraph 10 of that
    9 same declaration, the referenced garment was taken down before InterF ocus entered
   10 into its previous settlement agreement with Neman Brothers. The correct date that
   11 should have been included on the chart is 9/14/2019. I apologize for that error.
   12        5.     After suit was filed herein, InterF ocus examined its business records to
   13 determine how much money it made selling the garments Neman Brothers has
   14 claimed infringe its copyright. InterFocus has determined that it earned less than
   15 $1000 in profits from such sales.
   16        I declare under penalty of perjury under the laws of the United States that the
   17 foregoing is true and correct. Executed this 2nd day of August, 2021, at Hayward,
   18 California.
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                                                           Weiwei Le
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          DECLARATIONS OF MARKS. LEE AND WEIWE1 LE IN OPPOSITION TO PLAINTIFF'S MOTION FOR
                              SUMMARY JUDGMENT OR ADJUDICATION
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